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December 20, 2024

VIA ECF

The Honorable Dale E. Ho
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 905
New York, New York 10007

Re:     United States v. Adams, 24 Cr. 556 (DEH)

Dear Judge Ho:

       I write in response to the Court’s Order of December 19, 2024 to provide defense counsel’s
availability for in-person hearings during the week of January 27, 2025. Defense counsel is
available for a further status conference and any CIPA hearings on any or all of January 27-29.

        While we understand that the Court may issue a scheduling order between now and then,
we respectfully submit that it makes sense to address the timing of the government’s disclosure of
Giglio materials, as well as the parties’ mutual disclosures of witness statements, trial exhibits, and
trial witness lists during the January status conference. At that point, the government will have
responded to, and the Court may well have decided, Mayor Adams’ motion for a bill of particulars,
the parties will have more information regarding potential CIPA discovery, and the parties and the
Court generally will be better positioned to ascertain what additional disclosure deadlines will
allow Mayor Adams to effectively prepare for trial.

        To the extent the Court plans to set all pre-trial deadlines prior to the next status conference,
Mayor Adams reiterates his request regarding the Giglio and other disclosure deadlines set forth
in the parties’ joint letter of November 27, 2024 (ECF No. 64), and requests the opportunity to
discuss the issue again at the January conference, if necessary. The government has argued, and
the Court has determined, that this is a complex case; the allegations span nearly a decade; and
there appear to be several dozen potential witnesses, including numerous witnesses located
overseas who will need to be interviewed regarding their statements to the government once those



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are disclosed. Consequently, Mayor Adams’ counsel believes at this stage that they need, at
minimum, a Giglio deadline 8 weeks prior to trial in order to effectively prepare for trial. Courts
in this District have set similar disclosure deadlines in white-collar cases, and it is certainly
reasonable and warranted in this one.


Respectfully submitted,




Alex Spiro




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